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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                       Criminal No. 22-223 (NEB/DTS)

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )       GOVERNMENT’S
                                           )       CONSOLIDATED RESPONSE
       v.                                  )       TO DEFENDANTS’ MOTIONS
                                           )       FOR JUDGMENT OF
1. AIMEE MARIE BOCK and                    )       ACQUITTAL AND NEW
3. SALIM AHMED SAID,                       )       TRIAL
                                           )
                    Defendants.            )

       The United States of America, by and through its attorneys, Lisa D.

Kirkpatrick, Acting United States Attorney for the District of Minnesota, and Joseph

H. Thompson, Harry M. Jacobs, Matthew S. Ebert, and Daniel W. Bobier, Assistant

U.S. Attorneys, respectfully submits the following consolidated response to

defendants’ motions for judgments of acquittal and for a new trial. Dkt. ##611, 626-

27.

       Defendants Aimee Bock and Salim Said were charged with conspiracy to

commit wire fraud, wire fraud, conspiracy to commit federal programs bribery, and

federal programs bribery. Defendant Said was also charged with conspiracy to

commit money laundering and engaging in financial transactions involving property

derived from unlawful activity. The indictment alleged that Bock and Said

participated in a fraudulent scheme to obtain federal child nutrition program funds

through the submission of fraudulent claims to the Minnesota Department of

Education.
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      On March 19, 2025, at the end of a 21-day trial, a jury convicted Bock of one

count of conspiracy to commit wire fraud, four counts of wire fraud, one count of

conspiracy to commit federal programs bribery, and one count of federal programs

bribery. Dkt. #581. The jury convicted Said of one count of conspiracy to commit wire

fraud, four counts of wire fraud, one count of conspiracy to commit federal programs

bribery, eight counts of federal programs bribery, one count of conspiracy to commit

money launder, and five counts of engaging in monetary transactions involving more

than $10,000 in property derived from unlawful activity. Dkt. #582.

      Over 21 trial days, the jury heard from dozens of witnesses and received

hundreds of exhibits demonstrating the fraudulent scheme and the defendants’ role

in it. Based on this evidence the jury found beyond a reasonable doubt that the

defendants and their coconspirators participated in and carried out this fraudulent

scheme.

      Now, the defendants want the Court to disregard the jury’s findings and vacate

the jury’s guilty verdict. The defendants ask the Court to acquit them of the charges

for which they were found guilty or, alternatively, to order a new trial. The Court

should do neither. The jury’s guilty verdict was reasonable based on both the evidence

and the law. The guilty verdict was accurate and should stand.

I.    THE LEGAL STANDARD

      When considering a motion for judgment of acquittal, the court views the

evidence in the light most favorable to the government, resolves any evidentiary

conflicts in the government’s favor, and accepts any “reasonable inferences that may

be drawn in favor of the verdict.” United States v. Jenkins, 758 F.3d 1046, 1049 (8th

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Cir. 2014). The court cannot overturn a verdict for insufficient evidence unless “there

is no interpretation of the evidence that would allow a reasonable jury to find the

defendant guilty beyond a reasonable doubt.” United States v. Cacioppo, 460 F.3d

1012, 1021 (8th Cir. 2006) (citation and internal quotation marks omitted). In making

that determination, the Court must look at the evidence “in the light most favorable

to the government, drawing all reasonable inferences and resolving all evidentiary

conflicts in favor of the jury’s verdict.” United States v. Aponte, 619 F.3d 799, 804

(8th Cir. 2010).

      If the evidence rationally supports two conflicting hypotheses, the Court will

not disturb the conviction. Ortega v. United States, 270 F.3d 540, 544 (8th Cir. 2001).

Further, the government’s “evidence ‘need not exclude every reasonable hypothesis

of innocence.’” United States v. Baker, 98 F.3d 330, 338 (8th Cir. 1996); United States

v. Jolivet, 224 F.3d 902, 907 (8th Cir. 2000) (quoting United States v. Hawkey, 148

F.3d 920, 923 (8th Cir. 1998)). And “the essential elements of the crime may be proven

by circumstantial, as well as direct evidence.” United States v. Mundt, 846 F.2d 1157,

1158 (8th Cir. 1988) (quoting United States v. Nabors, 762 F.2d 642, 653 (8th Cir.

1985)). In either case, the standard is the same. Mundt, 846 F.2d at 1160.

      The defendants also move for a new trial on the grounds that the verdicts were

against the weight of the evidence. The granting of a new trial is disfavored, United

States v. Campos, 306 F.3d 577, 579 (8th Cir. 2002), and may occur only where “‘the

evidence weighs heavily enough against the verdict [such] that a miscarriage of

justice may have occurred.’” United States v. Johnson, 474 F.3d 1044, 1051 (8th Cir.



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2007) (quoting United States v. Lacey, 219 F.3d 779, 783 (8th Cir. 2000)). The remedy

“is reserved for exceptional cases in which the evidence preponderates heavily against

the verdict.” United States v. Knight, 800 F.3d 491, 504 (8th Cir. 2015).

II.    ARGUMENT

       The defendants ask the Court to throw out the jury’s verdict and enter a

judgment of acquittal or, alternatively, order a new trial on the grounds that the

evidence was not sufficient for a reasonable jury to convict them. Because the

evidence of the defendants’ guilt was overwhelming, and their motions should be

denied.

       A.    The Wire Fraud Conspiracy

       Count One of the indictment charged Bock and Said with conspiracy to commit

wire fraud based on their participation in a massive scheme to defraud the federal

child nutrition program.

       The Eighth Circuit instructs that to find a defendant guilty on a conspiracy

charge, the jury “must decide whether the conspiracy existed and whether the

government proved that [the defendant] had an understanding of the unlawful nature

of the plan and some degree of knowing involvement and cooperation, even if she

agreed to play only a minor part in the conspiracy.” United States v. Hamilton, 837

F.3d 859, 863 (8th Cir. 2016) (internal citations omitted). And “once a conspiracy [is]

established”—for example, when a defendant “readily concedes that the charged

conspiracy existed but insists that he was not a member of it”—“only slight additional

evidence [is] needed to link [the defendant] to it.” United States v. Bascope-Zurita,

68 F.3d 1057, 1061 (8th Cir. 1995) (internal citations omitted). A defendant “does not

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have to have contact with all the other members of a conspiracy to be held accountable

as a conspirator.” Id. Rather, a “single conspiracy may be found when the defendants

share a common overall goal and the same method is used to achieve that goal, even

if the actors are not always the same.” Id.

             1.     Salim Said participated in the scheme to fraudulently
                    obtain federal child nutrition program funds

      Defendant Salim Said owned Safari Restaurant in Minneapolis. In April 2020,

Said and his co-owners enrolled Safari Restaurant in the federal child nutrition

program under the sponsorship of Feeding Our Future. By that summer, they claimed

to be serving meals to 5,000 children a day, seven days a week, two meals a day. In

July 2020, for example, Said signed meal counts claiming—falsely—that he and his

co-conspirators were serving two meals to 5,000 children per day, seven days a week.




See, e.g., Gov’t Ex. B-62 at 3-12.




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      Said also signed meal counts claiming that he and his co-conspirators were

serving meals to 5,000 kids a day, seven days a week in August 2020. Gov’t Ex. B-63

at 14-30.




      Along with these fraudulent meal counts, Said and his co-conspirators

submitted invoices claiming that they were entitled to $950,000 a month in federal

child nutrition program funds for meals served in both July and August 2020. Gov’t

Exs. B-62 at 13-14, B-63 at 7-8.

      Based on these fraudulent documents, Bock submitted fraudulent claims to

MDE. After receiving the requested federal child nutrition program funds from MDE,

Bock paid the money out to Said and his Safari Restaurant co-owners. Although the

federal child nutrition program funds were meant to reimburse Safari Restaurant for

the cost of serving meals to children, Bock sent most of the money to shell companies

created and used by Said and his co-owners to receive and launder the proceeds of




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the fraudulent scheme. See, e.g., Gov’t Ex. B-13. In other words, Said and his partners

did not use the money to purchase food; they used it to enrich themselves.

      Witness testimony at trial further established Salim Said’s participation in the

fraud. For example, Sharmake Jama, one of the individuals who ran the Brava

Restaurant site in Rochester under the sponsorship of Feeding Our Future, testified

about his direction involvement with Salim Said in carrying out the scheme. Jama

testified in detail that he submitted fraudulent meal counts in person every month at

Safari’s business headquarters at Safari’s business headquarters at historic

Minneapolis mansion, per instructions from Salim Said.

      Eventually, Safari Restaurant claimed to be serving 6,000 children a day. See,

e.g., Gov’t Ex. B-67. In all, the defendants claimed to have served more than 3.9

million meals to children at the Safari Restaurant site between April 2020 and

November 2021. Gov’t Ex. X-1.

             2.     The ASA Limited and Olive Management Sites

      In September 2020, Said and his co-conspirators opened two additional federal

child nutrition program sites under the sponsorship of Feeding Our Future—ASA

Limited and Olive Management.

      On September 4, 2020, Said and two co-defendants—Abdihakim Ahmed and

Ahmed Ghedi—registered ASA Limited with the Minnesota Secretary of State. Gov’t

Exs. C-1, C-3. A few days later, Bock applied to enroll ASA Limited in the federal

child nutrition program under the sponsorship of Feeding Our Future. Gov’t Ex. C-2.

Within weeks, Said and his co-conspirators claimed to be delivering meals to 2,000



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and then 3,000 children per day, seven days a week. Gov’t Exs. C-4, C-9, C-10, C-11,

C-14, C-15, C-18.




         In support of these claims, they submitted fraudulent invoices and attendance

rosters. The attendance rosters were created using an Excel spreadsheet that

included a macro that automatically generated a random number between 7 and 17

to be inserted in the “age” column of the roster. See, e.g., Gov’t Ex. C-20, C-21, C-22,

C-23.

         During the investigation, the government installed a hidden pole camera to

record all people entering and leave the ASA Limited site. The pole camera video

further showed that the claims submitted by the conspirators were fraudulent. Gov’t

Ex. C-60a through C-60g (screenshots of video introduced through FBI Special Agent

Jared Kary).



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       In all, Said and his co-conspirators received more than $5 million in federal

child nutrition program reimbursements for meals purported served at the ASA

Limited site. See, e.g., Gov’t Ex. X-4. Little of this money was spent on food. Most of

it was distributed to companies created and used by Said and his co-conspirators to

receive and launder the proceeds of their scheme, including more than $800,000 to

Said’s company, Salim Limited LLC. Id.

       Said and his co-conspirators created a second company—called Olive

Management—in September 2020. Gov’t Ex. E-1. E-2. After registering Olive

Management with the Minnesota Secretary of State, they worked with Bock enrolled

it in the federal child nutrition program under the sponsorship of Feeding Our

Future. Gov’t Ex. E-3. Within weeks, they claimed to be serving meals to 3,000

children per day, seven days a week. See, e.g., Gov’t Ex. E-40, E-41, E-42, E-43. Again,

they submitted fraudulent invoices and attendance rosters in support of their claims.

Id.

       In all, the conspirators received nearly $6.5 million in federal child nutrition

program funds for meals purportedly served at the Olive Management site. $1.2

million of these funds was transferred to Said’s shell company, Salim Limited LLC.

Gov’t Ex. X-5.

       After MDE attempted to bar for-profit restaurants from participating in the

federal child nutrition program, Said and his Safari co-conspirators obtained a non-

profit called Stigma Free International. They then opened a series of sites around the

state under their newly acquired non-profit, including sites in Willmar, Mankato, St.



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Cloud, and Waite Park. Almost immediately, they claimed to be serving meals to

thousands of children per day, seven days a week, at these sites. See, e.g., Gov’t Exs.

G-6, H-5, I-22, J-4.




      The conspirators also submitted fake invoices and attendance rosters in

support of their fraudulent claims. As the jury heard, the attendance rosters listed

fake names—almost none of which matched the names of students in the local school

districts. Some of the attendance rosters included the macros that inserted a random

number between 7 and 17 in the age column. See, e.g., Gov’t Ex. C-22.

      Said and his co-conspirators claimed to serve more than 5.7 million meals at

the Stigma Free sites in 2020 and 2021. Gov’t Ex. X-58. Based on these fraudulent

claims, they received more than $14 million in federal child nutrition program funds.

Gov’t Ex. X-59.

             3.        Salim Said and his Safari Restaurant co-conspirators
                       laundered the proceeds of their fraud scheme

      Little of this money was spent on food. Instead, Said and his co-conspirators

laundered the funds through a series of shell companies. See, e.g., Gov’t Exs. X-3, X-

4, X-5, X-6, X-7, X-8, X-9, X-10, X-12, X-13. Then then spent millions of dollars in


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federal child nutrition program funds on real estate, cars and other luxury items.

Said used nearly $1 million in federal child nutrition program funds to purchase a

single-family home in Plymouth. Gov’t Ex. U-18. He also used federal child nutrition

program funds to purchase a Chevrolet Silverado and Mercedes Benz SUV. Gov’t Ex.

U-16 and U-17. He and his Safari co-conspirators purchased a historic mansion on

Park Avenue in Minneapolis using $2.7 million in federal child nutrition program

funds. Gov’t Ex. U-19. They also purchased a culinary school in Columbus, Ohio,

using $2.4 million in federal child nutrition program funds. Gov’t Ex. U-20.

      Said and his co-conspirators ran their fraud scheme from the historic mansion

(2722 Park Avenue) they purchased in south Minneapolis. At trial, the jury saw

evidence obtained during the execution of a search warrant at 2722 Park Avenue,

including stacks of fraudulent meal counts, fake invoices, and fake attendance roster.

See, e.g., Gov’t Ex. FF-2 through FF-12, FF-16, FF-17, FF-22, FF-24, FF-26 through

FF-31, FF-33, FF-35 through FF-39. The jury also heard from a woman who worked

there and scanned and submitted fraudulent documents bat the direction of Said and

his co-conspirators.

      In asking the Court to set aside the jury’s verdict and enter a judgment of

acquittal, Said asks the Court to simply accept his own self-serving account of his

involvement in the federal child nutrition program. But the jury heard—and

rejected—his testimony at trial. His account of the scheme was not credible,

especially in light of the millions of dollars in fraud proceeds that Said received from

an array of entities involved in the scheme.



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      B.     Defendant Aimee Bock orchestrated and carried out a massive
             scheme to defraud the federal child nutrition program

             1.     Bock certified and submitted all of the fraudulent claims

      Bock was the founder and executive director of Feeding Our Future, a non-

profit organization in the business of helping community partners participate in the

federal child nutrition program—a government program that ensures children

receive nutritious meals and snacks that adequately promote healthy physical and

education development.

      During the Covid-19 pandemic, USDA and MDE modified some of the federal

child nutrition program regulations to allow flexibility to ensure children received the

meals they needed even when school was not in session due to the pandemic.

Defendants Bock and Said, and their co-conspirators, took advantage of these

changes to fraudulent obtain millions of dollars in federal child nutrition program

funds for meals that were not actually served to children.

      Bock and Feeding Our Future sponsored nearly 200 federal child nutrition

program sites in 2020 and 2021. Bock enrolled each of the sites in the federal child

nutrition program. Within weeks of their enrollment, the sites claimed to be serving

meals to thousands of children a day, seven days a week. In support of these claims,

the site owners (including Salim Said) sent Bock and Feeding Our Future fraudulent

meal counts purporting to document the number of children served each day. These

meal count forms were fraudulent on their face—many of them purporting to show

that the sites served the exact same number of children each day. See, e.g., Gov’t Ex.




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B-20, C-9, C-15, Z-14. The site owners also submitted fake invoices and attendance

rosters in support of their fraudulent claims. See, e.g., Gov’t Ex. B—38, C-22, Z-14.

      After receiving the meal counts and other fake documentation, Bock submitted

her co-conspirators’ fraudulent federal child nutrition program reimbursement

claims to MDE. Bock certified that each and every one of these claims was true and

accurate to the best of her knowledge. See, e.g., Gov’t Ex. V-3.




But, in reality, the evidence showed that Bock knew the claims were fraudulent but

submitted them anyways.

             2.     Site owners testified about Bock’s involvement in the
                    scheme

      Several individuals who ran sites under the sponsorship of Feeding Our Future

testified at trial. For example, the owner of Lido Restaurant, Lul Ali, testified about

her role in the fraud scheme. Ali explained that she enrolled her restaurant in the

federal child nutrition program under the sponsorship of Feeding Our Future. Ali

testified that Feeding Our Future employee Abdikerm Eidleh taught her how to open

a site and instructed her to claim to be serving 1,000 children a day—even though

that was impossible for Ali and her small storefront restaurant in Faribault. Eidleh



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also told Ali she needed to pay $30,000 cash each month in exchange for Feeding Our

Future’s sponsorship of her site. Eidleh came to Faribault every month to pick up the

cash from Ali. After Ali gave him the cash, Eidleh made a video call to Bock to confirm

that he received the money.1 Ali explained that she had to pay the money to

participate in the program: “If you don’t pay, you don’t enjoy the program. That’s part

of the deal.” Ali testified that Bock talked to her during some of the video calls.

According to Ali, Bock Sometimes she talked to her. Bock would tell her to open

another facility. As Ali put it, more sites meant everybody would make more money

(“More invoices, more money”).

      Ali’s husband, Mohamed Hussein, also testified at trial. Hussein opened a site

in the name of his nonprofit organization, Somali American Faribault Education

(“SAFE”). Like his wife, Hussein regularly met with Eidleh to discuss his site. During

these meetings, Eidleh would make video calls to Bock. Hussein testified that during

these calls, Bock told him to say he was serving meals to 1,000 children a day, every

day. Bock told Hussein that doing so would allow him to get big money, large checks,

and to live the “American dream.”

      Hussein testified that he paid $30,000 a month in kickbacks to Eidleh.

According to Hussein, Eidleh came each month to pick up the $30,000 in cash. Eidleh

called Bock on FaceTime and told her he had the cash. According to Hussein, Eidleh

would say: “I have the money in my hand” – Aimee would say thank you, you’re doing




1     Bank records confirm that Ali withdrew massive amounts of case from the Lido
Restaurant bank accounts to pay these kickbacks. Gov’t Exs. W-225 through W-228.


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good.”2 At some point, Hussein had troubled withdrawing so much cash from his

nonprofit. As a result, he began writing checks to shell companies that Eidleh had

created and used to receive and launder kickbacks and fraud proceeds, including

Bridge Logistics. The jury saw these checks, which corroborated Hussein’s testimony.

Gov’t Ex. Q-47.

      Hussein testified that Bock told him he could “serve” 2,000 kids a day at SAFE.

Later, Bock moved that number of kids up to 2,500. Hussein had no way of serving

that many children but submitted fraudulent claims anyways. As Hussein explained,

“I was greedy…we were after the money.” Hussein testified further that “Aimee

trained us, if you make more invoices you get more money.”

      Hussein also testified about a meeting that Bock held at Feeding Our Future

for people who had sites sponsored by Feeding Our Future. During the meeting, Bock

warned people not to buy flashy cars or houses because the fraud scheme would

become obvious and the government would stop the program.

             3.    Bock fought MDE when it became suspicious about the
                   claims being submitted by Feeding Our Future

      When MDE became suspicious about the number of sites and claims under the

sponsorship of Feeding Our Future, Bock took active steps to evade their suspicious

and sidesteps their efforts to slow down the fraud. In the fall of 2020, MDE employees

became suspicious about the dramatic increase in sites being enrolled by Bock and

Feeding Our Future as well as the dramatic increase in the number of meals claimed



2      These and other quotes are drawn from the government’s notes of the witness
testimony.


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to be served—and federal child nutrition program funds being paid out. In October

2020, MDE took steps to address the issue. Among other things, MDE announced

that for-profit restaurants would no longer be allowed to operate federal child

nutrition program sites and that any for-profit sites would not be able to operate in

the program after October 31, 2020. Gov’t Ex. F-6.

      In response, Bock sent an email with the subject line “For-Profit Restaurant

Clarifications.” In an attachment, Bock claimed that Feeding Our Future would

actually be staffing the for-profit restaurant locations and that Feeding Our Future

employees and volunteers would be distributing the meals at the for-profit restaurant

sites, including Safari Restaurant, ASA Limited, Olive Management, Lido

Restaurant, and S&S Catering. Gov’t Ex. F-7.




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Although they continued to have suspicions about these sites and their massive

claims, MDE employee Emily Honer testified that she and her MDE colleagues felt

like they could not bar the for-profit sites from their continued participate in the

program after Bock claimed Feeding Our Future was actually running the sites.

      In the wake of Bock’s claim that Feeding Our Future was running these sites,

Bock submitted claims that these “Feeding Our Future-staffed” were serving meals

to thousands of children per day. For example, the ASA Limited and Olive

Management sites claimed to be serving meals to 2,000 or 3,000 children a day. See,

e.g., Gov’t Ex. B-14, B-20.

      Bock also told MDE that Feeding Our Future staff operated the S & S Catering

site. Gov’t Ex. F-7. The owner of S & S Catering, Qamar Hassan, testified at trial and

admitted the S & S Catering site was part of the fraud scheme. Bock also claimed

that Feeding Our Future operated the Nawal Restaurant site. But Nawal’s owner,

Abdulkadir Awale, testified at trial that Feeding Our Future did not staff his site.

Awale, who pled guilty for his role in the fraud scheme, also testified that his site was

part of the fraudulent scheme.

      Bock later filed a lawsuit against MDE, accusing its employees of racism and

discrimination against Feeding Our Future and the sites under its sponsorship. But,

in reality, Bock knew that MDE employee’s concerns were valid and that its

employees were not motivated by racial animus.




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             4.    Bock and Feeding Our Future had their own fraudulent
                   food sites

      In addition to the sites under its sponsorship, Bock and Feeding Our Future

also had their own fraudulent food distribution sites. One of the site purported to be

located at Sir Boxing, a basement boxing gym in St. Paul. Bock submitted claimed

that Feeding Our Future distributed meals to 2,500 children a day at the site. See,

e.g., Gov’t Exs. P-6 through P-14. But the owner of Sir Boxing testified that his gym

was not involved in the food program and that no one ever distributed meals to 2,500

children a day at or near his gym. Or as he so colorfully put it, “that math ain’t

mathin’.”

      Bock also claimed that Feeding Our Future ran two food distribution sites at

a small and desolate building located at 2854 Columbus Avenue in south

Minneapolis. Bock claimed that the so-called “Southside Youth” and “FoF Taylor”

sites each distributed meals to 2,000 children a day, seven days a week. See, e.g.,

Gov’t Exs. P-63, P-78.




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But, as the jury heard, the government had a pole camera outside of 2854 Columbus

Avenue in December 2021, which showed that these claims were fraudulent. Indeed,

on December 1, 2021, a Minneapolis Police Department crime lab unit came to the

site as part of an unrelated investigation. The pole camera shows that no children

received meals at the site that day. However, Bock claimed that 1955 children were


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served at the Southside Youth site that day as well as 2,003 children were served at

the “FoF Taylor” site that day. Gov’t Exs. P-63, P-78. When MDE asked Bock about

two sites being at this same address, Bock assured them that she “had verified that

it is different youth being served at each of the locations in the building.”




      The jury heard more evidence about the fraud at Feeding Our Future. For

example, the jury heard how Bock had a sham board of directors and forged

documents and signatures purporting to make it looks like her nonprofit had a real

board of directors. Her board members testified about how the signatures were fake

and that they had never attended any board meetings and were not aware of their

board position.

      The jury also heard how Bock diverted more than $1 million in fraud proceeds

from Feeding Our Future to her live-in boyfriend, and which he used to pay for travel,

luxury automobiles, and lifestyle. See, e.g., Gov’t Ex. X-100.




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      C.     The Wire Fraud Counts

      In their motions, Bock and Said argue that with respect to the wire fraud

counts of which they were convicted, because they did not create the underlying

documents sent via the charged wire communications or because they did not send

the charged wire communications themselves, they are somehow not guilty of wire

fraud. However, as the Court properly instructed the jury, the law is clear that a

defendant need not have sent or received an actual wire communication or specifically

intended that a wire communication be used. See United States v. Miller, No. 20-cr-

232 (JRT/DTS), 2024 WL 2218446, at *5 (D. Minn. May 15, 2024); Dkt. #580, Jury

Instructions (“It is not necessary that the defendant himself or herself contemplate

the use of an interstate wire communication or specifically intend that an interstate

wire communication be used. It is sufficient if a wire communication was in fact used

to carry out the scheme and the use of a wire communication by someone was

reasonably foreseeable.”) For the reasons explained above, including the substantial

and overarching involvement of both Bock and Said in the fraud scheme, each of the

wire communications was reasonably foreseeable and in furtherance of the fraud

scheme.

      Moreover, neither Bock nor Said provide any explanation for why their

convictions should not stand under vicarious co-conspirator liability. Under

Pinkerton liability, and as the Court correctly instructed the jury, “[b]ecause a

member of a conspiracy is responsible for a crime committed by any other member of

the conspiracy” Bock and Said may have committed the crime of wire fraud under a

co-conspirator liability theory. Under that theory, Bock and Said are guilty of wire

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fraud if a co-conspirator committed the crime of wire fraud, the co-conspirator was a

member of the conspiracy, the wire fraud was in furtherance of the conspiracy, and

the wire fraud was within the scope of the conspiracy. Here again, even if Bock and

Said did not send the wire communication charged in the indictment, they are still

guilty of wire fraud.

       D.     The Kickbacks

       Both Bock and Said were convicted of federal programs bribery and conspiracy

to commit federal programs bribery. They challenge their convictions on the grounds

that the government failed to show the payments were kickbacks or bribes offered or

paid before an official act.

       As the Court instructed the jury, the kickback statutes distinguish between

prohibited bribes and non-prohibited gratuities. The Court properly instructed the

jury that “bribes are payments made or agreed to before an official act in order to

influence the official with respect to that official act.” Dkt. #580 at 34 (emphasis in

original). The instructions contrasted that gratuities, which are not prohibited by the

statute, and which the Court defined as “payments made to an official after an official

act as a token of appreciation.” Id. (emphasis in original).

       Said argues that the kickback convictions cannot be sustained because he paid

the kickbacks after Bock enrolled his entities in the federal child nutrition program.

With respect to the Counts charging Said with paying kickbacks to Eidleh, the Court

instructed that the jury must find that “the payment, or the agreement to make the

payment, occurred before an official act in order to influence Abdikerm Eidleh with

respect to that future official act, meaning sponsoring or continuing the sponsor Salim

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Said and/or his co-conspirators’ fraudulent participation in the Federal Child

Nutrition Program.” Dkt. #580 at 36 (emphasis added). Similarly, the Court

instructed that with respect to the kickback paid to Bock, the jury must find that “the

agreement to make the payment occurred before an official act in order to influence

Aimee Bock with respect to that official act, meaning sponsoring or continuing to

sponsor Cosmopolitan Business Solutions’ fraudulent participation in the Federal

Child Nutrition Program.” Id. at 40.

      Here, the evidence showed that Said paid kickbacks to Eidleh and Bock in

exchange for their continued sponsorship of his company’s participation in the federal

child nutrition program and submission of their fraudulent claims to MDE. Indeed,

several witnesses testified about the Feeding Our Future’s kickback requirement.

Mohamed Hussein, for example, paid kickbacks to Eidleh and testified that “the

kickbacks were so that Feeding Our Future would not terminate us from

participating in the program.” Similarly, Hannah Marekegn testified that Bock made

clear that “If I don’t pay kickbacks, I would lose the contract and wouldn’t get paid.”

Qamar Hassan testified about being asked to pay money to Bock and said her

understanding what that “If I say no, I’m not getting any more money.”

      Here, too, Said regularly paid Eidleh payments in exchange for his and Feeding

Our Future’s continued sponsorship of his fraudulent participation in the federal

child nutrition program. Said’s unsupported claim that these were mere consulting

payments flies in the face of the evidence of his obvious kickback and bribe payments.

Similarly, Said and Bock’s attempt to portray the $310,000 payment to Bock as



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involving the sale of a daycare fails. As the jury heard, there was no daycare. There

were no kids. There were no teachers or child care workers. Instead, Said paid Bock

$310,000 so that he and his co-conspirators could assume control over the Southcross

site and so that Bock would continue to sponsor the site and its fraudulent

participation in the food program.

        E.    Money Laundering

        Finally, Salim Said was convicted of several money laundering counts. He

challenges his conviction on those counts on the grounds that he was not aware that

the funds involved in those transactions were the proceeds of the fraud scheme. But

the jury convicted him for his role in the fraud scheme. And, as explained above, the

jury’s verdict was well-supported by the evidence and testimony at trial.

III.    CONCLUSION

        For the reasons stated above, the government respectfully requests that the

Court deny defendants’ motions for judgments of acquittal and motion for a new trial.



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